                                   Case 5:19-cv-00172-C Document 40 Filed 01/27/20 Page 1 of 4
                                                                                                PROCESS RECEIPT AND RETURN
 U.S. Department of Justice                                                                     See Instructionsfor "Service ofProcess by the U.S. Marshal'
 United States Marshals Service                                                                 on the reverse ofthisform.

 PL^MNTIFF                                             .                                                                     COURT CASE NUMBER



 Dl-FENDANT                                                   '
                                                                                   (A lAM.lrtA144<.                          <lxv-iq-nz.-6
                                                                                                                             TYPE OF PROCESS

                      CJcfc. fAe<^\rn^ ^ccVP
 SERVE                       NAME OF INDIVIDUAL,COMPANY.CORPORMION,ETC..TO SERVE OR DE^RIPTION OF PROPERTY TO SEIZE OR CONDEMN



         AT{                 ADDRESS (Street or RFIO, Apartment No., City. State and ZIP Code)

                         3Z<:30
 SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW;
                                                                              diJSWcnq                           mC>Z3
                                                                                                                    Number of process to be
                                                                                                                    served with this Form - 285


                                                                                                                    Number of parties to be

                 CCJP
                                                                                                                    served in this case
                                                                                                                                                                 n
               l52CC.'S.Piiyia^ WovA                                                                                Check for service
                                                                                                                    on U.S.A.


 SPECIAL INSTRj4J^TIONS:OR OTHER INFORMATION THAT WILL ^SSISTp^g^t^p^^I^JpE (Inc 'ide Business and Alternate Addresses. All
 Telephone Numbers, and Estimatefpines Available For Service):
 Fold                              CTj .'f
                                                                                          ■      NOV 21 2019
                      -o
                       C-i
                                                                                          U.S. MARSHALS W/OK
                                   -a" I- 1
                                   lit f.--



                                 -43*
 Signature of Attorney or other Offginalor
                                 )rmi      requesting service on behalf of;                                         TELEPHONE NUMBER                       DATE
                                                                                                 H^AINTIFF
                                                                                                 □ DEFENDANT                                                 7/22/W?
 SPACE BELOW FOR USE OF U.S. MARSHAL ONLY — DO NOT WRITE BELOW THIS LINE
 I acknowledge receipt for the total          Total Process   District        District          Signature of Authorized USMS Deputy or Clerk
 number of process indicated.                                 of Origin       to Serve
 (Sign only /irsi USM 2S5 ifmore
 than one USM 285 is submitted)               /l i            n„6V            Nn   '

 1 hereby certify and return that 1    ive personally .served, □ have legal evidence of service. □ have executed as shown in "Remarks"", the process described
 on the individual, company, corporati m, etc., at the address shown above or on the individual, company, coiporalion, etc., shown at the addre.ss inserted below.

 n I hereby certify and return that I am unable to locate the individual, company, corporation, etc., named above (See remarks helo^
 Name aiU title of individual perved (ifnot             above)            t                                                                 person of suitable age and dis
                                                                                                                                          cretion then residing in the defendant's
                                                                                                                                          usual place of abode.
 Address (complete only ifdijferenl than shown above)                                                                              Date of Se»'ice       Time



          ss'^/                                                                                       Ho                           ihtlao                   \2 if 1^
                                                                                                                                   Signaftire of U.S. Marshal or Deputy



        Service Fee      T^I^            Charges      Forwarding Fee      Total Charges       Advance Deposits    Amount owed to U.S. Marshal or           .'XiTrounl ol' Refund
                         (niwlilinp eiub-avors)
SREMARKS:
    es-"'\ [                                                   D              CZTtZ-


   I                                                                     ~                                        f) '
■^^tyuPcxA \j-cL v>>.
 PRIOR EDITIONS                                                                                                                               FORM USM-285 (Rev. 12/15/80)
                                                              1.   CLERK OF THE COURT
 MAYBE USED                                                                                                                                        (Instructions Rev. 12/08)
       Case 5:19-cv-00172-C Document 40 Filed 01/27/20 Page 2 of 4



 INSTRUCTIONS FOR COMPLETING USM-285, PROCESS RECEIPT AND RETURN

The Forni USM-285 is a five-copy form set designed as a control document for process served by a U.S.
Marshal or designee. Process may include, but is not limited to, a summons and complaint, subpoena,
writ, or court order. The United States Marshals Service (USMS) is authorized by law (28 U.S.C.
§ 1921)to charge fees for the service of process. Theamount offees charged is established by regulation
(28 C.F.R. § 0.114). Except in cases where the litigant has been granted permission by the court for
waiver of prepayment of fees and costs, the USMS must request advance payment of the estimated fees
and expenses for service of process.

Please type or print legibly. Submit one copy of the Form USM-285 and one copy of each process for
each individual, company,corporation, government agency, etc., to be served or property to be seized.

In cases where the court has directed the USMS to effect service of a summons and complaint upon
an officer or agent of the United States Government, submit a copy of the summons and complaint
and Form USM-285 for each officer or agent upon whom service is desired. Submit two(2)additional
copies of the summons and complaint for service upon the Government of the United States. The U.S.
Marshal or designee will serve one copy upon the U.S. Attorney and will forward the other copy to the
Attorney General of the United Stales. (When the applicable box is checked, completion of the final
signature block by the U.S. Marshal or designee certifies service on the U.S. Attorney and the U.S.
Attomey General, regardless of whether other defendants on the summons were served). Failure to
provide sufficient copies will delay service of the summons.

Mark all applicable check boxes and use the "Special Instructions" to advise of any information that
will assist the USMS in expediting service. You are responsible for providing accurate and sufficient
information that will identify the individual or entity to be served or the property to be seized.

If more than one item of process and Fonn USM-285 is submitted on a single case, the U.S. Marshal
or designee will receipt for all of them on the first Form USM-285. You will receive for your records
the "Acknowledgment of Receipt" copy for all the USM-285 forms you submit. When the process is
served, you will receive the "Notice of Service" copy. This copy will be identical to the return to the
Clerk of the U.S. District Court.


Upon completion of all services, you will receive a "Billing Statement" copy of Form USM-285. You
should return this "Billing Statement" copy to the USMS, together with your payment, in the form of
a certified or bank check payable to the U.S. Marshal, for any amounts still owed. Altematively, the
USMS will accept cash. The USMS will not accept personal checks.

Additional USM-285 forms may be obtained, without cost, from the Clerk of the U.S. District Court,
U.S. Marshal,or printed from http://www.usmarshals.gov/process/usm 285.pdf.



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AO440(Rcv.12/091 Summons in a Civil ActjuiL

                                  UNITED STATES DISTRICT COURT
                                                              for the
                                              Western District of Oklahoma


                                                              )
                                                              )
                                                              )
                             Plaintiff(s),                    )

                                                  ^      ')             Case No. CIV-19-172-C
                                                              )
                                                              )


                             DcrciuianU s).                   )
                         Core C/-//C

                                              SUMMONS IN A CIVIL ACTION


To:(Defendant's name and address)
                                              c




         A lawsuit has been Filed against you.

         Within 21 days after serviec of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency,or an officer or employee ofthe United States described in Fed.
R. Civ. P. 12(a)(2) or(3)- you must ser\'c on the plaintiff an answer to the attached complaint or a motion under
Rule 12 ofthe Federal Rules of Civil Procedure. The answerer motion must be served on the plaintiffor plaintiffs
attorney. who,sc name and addrcs.s                                                   kkAhh W,///c^.t3 «fcS=?glO
                                              £Wl}S
                                                      5. Kjnqs HiAiu


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.

                 SUMMONS ISSUED:
                 3:04 pm. Nov 20,2019
                 CARMEUTA REEDER SHINN. Clerk



                            Deputy Clerk




Signed and sealed hy the Clerk ofthe Court or Deputy Clerk.                       RETURN COPY
                          Case 5:19-cv-00172-C Document 40 Filed 01/27/20 Page 4 of 4

AO 440{Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.


                                                         PROOF OF SERVICE
                    (This section should not befiled with the court unless required by Fed. R. Civ. P. 4(I))

                                          Idividual ir
          This summons for (name of^dividualfnd title, fany)
                                       ts-| go
              i personally served the summons on the individual at (place)
                                                                               on (date)IJ1TI20                     ; or
          □ I left the summons at the individual's residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
          on (date)                              , and mailed a copy to the individual's last known address; or

          □ I served the summons on (name ofindividual)                                                                      , who is
           designated by law to accept service of process on behalf of (name oforganization)
                                                                               on (date)                            ; or

          □ I returned the summons unexecuted because                                                                             ; or

          O Other (specify):




          My fees are $                          for travel and $                  for services, for a total of $          q 00

          I declare under penalty of perjury that this information is true.


Date: 1 l I W 1                                                                                  s signature




                                                                                                     . 7/1/
                                                                                                r 'sjaddress
                                                                                           Server 's/iddress

Additional information regarding attempted service, etc:




                   Y10D ::nuTz:i
